Case 1-25-42400-E€SS DOCLl Filed U//is/ces centered Us/iloizo 1Loi4ai40

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United States Bankruptcy Court for the:
EASTERN DISTRICT OF NEW YORK .

Case number (if known) Chapter 11

[J Check if this an
12 7D £24 amended filing

Official Form 201
Voluntary Petition for Non-individuals Filing for Bankruptcy 06/22

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name WAYCROSS VISTA, INC.

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification | XX-XXXXXXX

 

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
1389 East 46 Street 1634 East 56th Street
Brooklyn, NY 11234 Brooklyn, NY 11234
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Kings Location of principal assets, if different from principal
County place of business

1389 East 46 Street Brooklyn, NY 11234
Number, Street, City, State & ZIP Code

5. Debtor's website (URL)
6. Type of debtor Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

O] Partnership (excluding LLP)
OC) Other. Specify:

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Debtor WAYCROSS VISTA, INC. Case number (if known)
Name
7. Describe debtor's business A. Check one:

(1 Health Care Business (as defined in 11 U.S.C. § 101(27A))
IH Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
1 Railroad (as defined in 11 U.S.C. § 101(44))

OO Stockbroker (as defined in 11 U.S.C. § 101(53A))

© Commodity Broker (as defined in 11 U.S.C. § 101(6))

O) Clearing Bank (as defined in 11 U.S.C. § 781(3))

1 None of the above

B. Check all that apply

0 Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htip:/Awww.uscourts.gov/four-digit-national-association-naics-codes.
5311

Under which chapter of the Check one:
Bankruptcy Code is the

debtor filing? Chapter 7
A debtor who is a “small C1 Chapter 9

business debtor” must check fy
the first sub-box. A debtor as E] Chapter 11. Check all that apply:

defined in § 1182(1) who The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate

elects to proceed under noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
subchapter V of chapter 11 $3,024,728. If this sub-box is selected, attach the most recent balance sheet, statement of
(whether or not the debtor is a operations, cash-flow statement, and federal income tax return or if any of these documents do not
“small business debtor”) must exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

check Hie*seccludisub-have (The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated

debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

oo

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Aftachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

[The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O Chapter 12

Were prior bankruptcy CI No.

cases filed by or against my,

the debtor within the last 8 es.

years?

If more than 2 cases, attach a Eastern District of

separate list. District New York When 9/11/19 Case number 19-45449
District See Attachment When Case number

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor WAYCROSS VISTA, INC. Case number (if known)

Name

10. Are any bankruptcy cases [ij yo
pending or being filed by a

business partner or an 0 Yes.
affiliate of the debtor?
List all cases. If more than 1, .
attach a separate list Debtor Relationship
District When Case number, if known

11. Why is the case filed in Check all that apply:

this district? .
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

[1 Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Doesthedebtorownor no
have possession of any
real property or personal [1] Yes.
property that needs
immediate attention? Why does the property need immediate attention? (Check aif that apply.)

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?
(1 it needs to be physically secured or protected from the weather.

C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

OO Other
Where is the property?
Number, Street, City, State & ZIP Code

Is the property insured?
CI No
Olyes. Insurance agency

Contact name

Phone

ae Statistical and administrative information
13. Debtor's estimation of . Check one:

available funds
@ Funds will be available for distribution to unsecured creditors.

O After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of 4-49 CZ 1,000-5,000 CQ 25,001-50,000
creditors (71 50-99 C1) 5001-10,000 C1 50,001-100,000

CO 100-199 CO 10,001-25,000 C1) More than100,000
C1 200-999

15. Estimated Assets B® $0 - $50,000 C1 $1,000,001 - $10 million C1 $500,000,001 - $1 billion
(J $50,001 - $100,000 CF $10,000,001 - $50 million C1 $1,000,000,001 - $10 billion
C1 $100,001 - $500,000 C2 $50,000,001 - $100 million CF $10,000,000,001 - $50 billion
Oo $500,001 - $1 million O $100,000,001 - $500 million 0 More than $50 billion

16. Estimated liabilities CO $0 - $50,000 DO $1,000,001 - $10 million [1 $500,000,001 - $1 billion

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Debtor

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WAYCROSS VISTA, INC.

Name

Official Form 201

1 $50,001 - $100,000
C4) $100,001 - $500,000
i $500,001 - $1 million

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Case number (if known)

DF $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
(J More than $50 billion

1 $10,000,001 - $50 million
(1 $50,000,001 - $100 million
C1 $100,000,001 - $500 million

Voluntary Petition for Non-individuals Filing for Bankruptcy

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Debtor WAYCROSS VISTA, INC. Case number (if known)
Name
aie, Request for Relief, Deciaration, and Signatures

WARNING -— Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.
| declare under penalty of perjury that the foregoing is true and correct.

Executedon July 13, 2023

MM /DD/YYYY
X& tsi Stacia Hewitt Stacia Hewitt
Signature of authorized representative of debtor Printed name

Title Successor in interest

X isi Date July 13, 2023

18. Signature of attorne'
2 y Signature of attorney for debtor MM/DD/YYYY

Printed name

Firm name

Number, Street, City, State & ZIP Code

Contact phone Email address

Bar number and State

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Debtor WAYCROSS VISTA, INC. Case number (if known)

Name

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United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known) Chapter 11

(1 Check if this an
amended filing

FORM 201. VOLUNTARY PETITION

Prior Bankruptcy Cases Filed Attachment

 

 

District Case Number Date Filed
Eastern District of New York 19-45449 9/11/19
Eastern District of New York 19-40865 2/13/19
Eastern District of New York 18-43892 7/03/18

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

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United States Bankruptcy Court
Eastern District of New York
Inre WAYCROSS VISTA, INC. Case No.
Debtor(s) Chapter 11

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for WAYCROSS VISTA, INC. _ in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

@ None [Check if applicable]

July 13, 2023 /s/ Stacia Hewitt
Date Morris Fateha

Signature of Attorney or Litigant
Counsel for WAYCROSS VISTA, INC.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): dips Wy croc vida CASE NO.: | - 45 uy 9

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of
either of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

~

NO ORDER BARRING DEBTOR FROM FILING A PETITION UNDER ANY CHAPTER IS IN EFFECT.

 

 

 

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

 

 

 

 

THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

 

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): [Jf closea| Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

» SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

» SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): [Jf closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

» SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

» SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES: _
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[OVER]
DISCLOSURE OF RELATED CASES (cont'd)
CASE NO.: \j- u SY “lyon: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): s/f closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.)

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above): _

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE;

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that:
e The within bankruptcy case is not related to any case pending, or pending within the last eight years, except as

indicated on this form.
e I, the above-named debtor, am currently not barred by any order of this court from filing for bankruptcy.

yee. Hees’ /

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitioner ye

lem € SG

Mailing Address of Debtor/Petitioner

ok Ye AL, 23%

City, State, Zip Code

Stay chy @ ysthls CQn.

Email Address

347 729 3699

Area Code and Telephone Number

 

 

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.
2
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Case No.
Chapter

Debtor(s)
x

AFFIRMATION OF FILER(S)

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: Oak Cros f Ue§ bin
Address: \2 § C Cc & C~ Sr

Email Address: \Leoo KA. “A | VLE
Phone Number: (Su DW hh % if. S$ y

Name of Debtor(s): SI ACSA Wes A \

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING: -

 

 

I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
I WAS NOT PAID.

I WAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty

ssi.
5% Y C'% Le. te

Dated:
Filer’s Signature

 
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NYC Department of Finance
PO Box 3600
New York, NY 10038

NYC Dept ECB
66 John Street
New York, NY 10038

NYC Water Board
59-17 Junction Boulevar
Elmhurst, NY 11373-5108

NYS Tax & Finace
P.O. Box 5300
Albany, NY 12205

SN Servicing Corp
323 5th Street
Bureka, CA 95501

 
